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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                     )
  SIU SHONG TSANG,                                   )
                                                     )
                    Plaintiff,                       )      Civil Action No. 1:23-cv-6614
          v.                                         )              (MMR)(JIC)
                                                     )
  THE INDIVIDUALS,                                   )
  CORPORATIONS, LIMITED                              )
  LIABILITY COMPANIES,                               )     JURY TRIAL DEMANDED
  PARTNERSHIPS, AND                                  )
  UNINCORPORATED ASSOCIATIONS                        )
  IDENTIFIED ON SCHEDULE A TO                        )
  THE COMPLAINT,                                     )
                                                     )
                    Defendants.                      )



                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses with prejudice all causes of action in the Amended Complaint against the Defendants

identified below.

                      Doe No.      Store Name

                      DOE 22       J Focus

                      DOE 44       StarAvenir

                      DOE 94       MAKE CUTE

                      DOE 101      QICO


       Each party shall bear their own attorney’s fees and costs. Defendants have not filed an

answer or a motion for summary judgment in this matter. Therefore, it is respectfully submitted

that dismissal under Rule 41(a)(1)(A)(i) is appropriate.

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Date: December 27, 2023                     Respectfully submitted,

                                            /s/ Theodore J. Chiacchio
                                            Theodore J. Chiacchio (Bar No. 6332547)
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                                            By: /s/ Shengmao Mu
                                            Shengmao (Sam) Mu, NY #5707021
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                                            Counsel for Plaintiff




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                              CERTIFICATE OF SERVICE

      I hereby certify that on December 27, 2023, I electronically filed the foregoing with the

Court using the CM/ECF system.


                                                        /s/Theodore J. Chiacchio_______
                                                           Theodore J. Chiacchio




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